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              EXHIBIT 5
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13                                UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15                                        SAN FRANCISCO DIVISION
16   IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
     ANTITRUST LITIGATION                            MDL No. 1917
17
                                                     AMENDED ANSWER OF THOMSON SA
18   This Document Relates to:                       TO INTERBOND CORPORATION OF
                                                     AMERICA’S FIRST AMENDED
19   Interbond Corporation ofAmerica v.              COMPLAINT
20   Technicolor SA, ci al., No. 13-cv-05727

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     AMENDED ANSWER OF THOMSON SA TO                                     No. 07-5944-SC; MDL No. 1917
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 1           Defendant Technicolor SA, f/k/a Thomson SA ("Thomson SA"), by and through its

 2   undersigned counsel of record, answers Interbond Corporation of America’s ("Plaintiff’) First

 3   Amended Complaint ("FAC") and alleges additional or affirmative defenses as follows. Thomson

 4   SA denies each and every allegation in the FAC’s section headings and in all portions of the FAC

 5   not contained in numbered paragraphs. To the extent that the FAC’s allegations concern persons or

 6   entities other than Thomson SA, Thomson SA denies that such allegations support any claim for

 7   relief against Thomson SA. Thomson SA denies any allegations not explicitly admitted herein.

 8           1.      Thomson SA denies the allegations in Paragraphs 13, 14,       15, 25, 31, 100, and 143 of

 9   Plaintiffs FAC. To the extent these paragraphs consist of definitional allegations, no response is

10   required and Thomson SA therefore denies them.

11           2.      To the extent that the allegations in Paragraphs 1, 5 through 8, 11, 16, 17, 18, 20, 32,

12   84 through 89, 97, 98, 99, 101 through 103, 105 through 133, 140, 172, 176, 177, 179, 180, 181,

13   193, 204, 208, 209, 210 through 222, 224 through 227, 229 through 233, and 235 through 240 of

14   Plaintiffs FAC relate to persons or entities other than Thomson SA, Thomson SA lacks knowledge

15   or information sufficient to form a belief about their truth and therefore denies them. To the extent

16   the allegations in those paragraphs relate to Thomson SA, Thomson SA denies them unless

17   expressly admitted below. Further, Thomson SA denies that it manufactured CRTs or CRT

18   Products, but admits that Thomson Consumer manufactured CPTs and CPT Products. Thomson SA

19   admits on information and belief that other companies alleged to be conspirators in the Complaint

20   have manufactured CPTs and CDTs, but denies that Thomson SA engaged in any conspiracy. To

21   the extent the allegations in those paragraphs purport to define markets or market activity which

22   require expert opinion and testimony, Thomson SA denies them. To the extent the allegations in

23   those paragraphs are definitional allegations, no response is required and Thomson SA therefore

24   denies these allegations.

25           3.      Thomson SA lacks knowledge or information sufficient to form a belief about the

26   truth of the allegations in Paragraphs 19, 21, 28 through 30, 33 through 81, 91, 95, 96, 104, 144

27   through 167, 195 through 198, 201, and 206 of Plaintiffs FAC and therefore denies them.

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 1          4.      To the extent that the allegations in Paragraphs 10, 168 through 171, 173, 174,       175,

 2   178, 183 through 191,194, 199, 200, 202, 203, 205, 207, and 228 of Plaintiffs FAC purport to

 3   characterize written documents, Thomson SA denies that Plaintiff has accurately or completely

 4   interpreted, characterized, or stated the substance or context of the written documents and therefore

 5   denies these allegations. To the extent those paragraphs contain additional allegations that relate to

 6   persons or entities other than Thomson SA, Thomson SA lacks knowledge or information sufficient

 7   to form a belief about their truth and therefore denies them. To the extent those paragraphs contain

 8   allegations that relate to Thomson SA, Thomson SA denies them unless expressly admitted below.

 9   To the extent the allegations in those paragraphs purport to define markets or market activity which

10   require expert opinion and testimony, Thomson SA denies them.

11           5.     Thomson SA admits that the allegations in Paragraphs 90, 92, 93, and 94 purport to

12   contain descriptions of CRT technology and history. Thomson SA denies that these allegations

13   completely and accurately describe all variants of CRT technology and therefore denies them. To

14   the extent the allegations in those paragraphs purport to define markets or market activity which

15   require expert opinion and testimony, Thomson SA denies them.

16           6.      With regard to the allegations in Paragraph 2 of Plaintiffs FAC, Thomson SA

17   admits that the allegations quote parts of its 2011 and 2012 Annual Reports, but denies any

18   emphasis or alterations in the quoted text and denies that it admitted to any wrongdoing in its

19   Annual Reports. Thomson SA also admits that the European Commission levied a fine of

20   38,631,000 million against it in 2012, but denies that the European Commission’s investigation or

21   allegations involved any violation of United States antitrust laws or had any relation to the United

22   States CRT market. Thomson SA denies any remaining allegations in Paragraph 2.

23           7.      With regard to the allegations in Paragraphs 3 and 4 of Plaintiffs FAC, Thomson SA

24   denies that it manufactured CRTs or CRT Products, but admits that Thomson Consumer

25   manufactured CPTs and CPT Products. Thomson SA admits on information and belief that other

26   companies alleged to be conspirators in the FAC have manufactured CPTs and CDTs, but denies

27   that Thomson SA engaged in any conspiracy. Thomson SA denies that it controlled the "majority

28   of the CRT industry" during the relevant period. Thomson SA lacks knowledge or information
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 1   sufficient to form a belief about the truth of the other allegations in Paragraphs 3 and 4 and

 2   therefore denies them. To the extent the allegations in Paragraphs 3 and 4 are definitional

 3   allegations, no response is required and Thomson SA therefore denies these allegations.

 4           8.     With regard to the allegations in Paragraph 9 of Plaintiff’s FAC, Thomson SA

 5   admits that European, Mexican and Brazilian authorities have investigated Thomson SA or its

 6   affiliates, but denies that those investigations have any relation to the United States CRT market or

 7   have alleged or found violations of United States antitrust laws. Thomson SA further admits that

 8   Thomson Consumer was subpoenaed by the Department of Justice, but states that Thomson

 9   Consumer has not been subjected to any criminal enforcement actions in the United States or ever

10   entered into a plea agreement with the Department of Justice. Thomson SA is aware that several

     individuals, including C.Y. Lin, have been indicted for violations of antitrust laws, but denies that it

12   participated in any price-fixing conspiracy with these individuals, or that the actions of those

13   individuals had any relation to the allegations concerning Thomson Consumer’s activities in the

14   United States CPT market.

15           9.     With regard to the allegations in Paragraph 12 of Plaintiff’s FAC, Thomson SA

16   admits that this case is properly related and consolidated with MDL No. 1917, but denies that it

17   participated in any conspiracy or engaged in any unlawful conduct in violation of federal and state

18   antitrust laws and denies that the MDL court has jurisdiction over Thomson SA. Thomson SA

19   denies any remaining allegations in Paragraph 12

20           10.    With regard to the first three sentences of Paragraph 22, Thomson SA admits that it

21   is a French corporation with its principal place of business located at    1-5 Rue Jeanne d’Arc, 92130
22   Issy-les-Moulineaux, France, but denies that Thomson SA ever manufactured, marketed, sold, or

23   distributed CRT products to customers in the United States and denies the remaining allegations in

24   the first three sentences. Thomson SA denies the allegations in the fourth sentence. To the extent

25   that the allegations in the fifth through tenth sentences purport to characterize a written document,

26   Thomson SA denies that Plaintiffs accurately or completely interpreted, characterized, or stated the

27   substance or context of the written document, and therefore denies those allegations except as

28   expressly admitted herein. With regard to the fifth sentence, Thomson SA admits that it sold its
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 1   CRT business to Videocon Industries, Ltd. in 2005 for 240 million. With regard to the sixth

 2   sentence, Thomson SA admits that it invested 240 million in Videocon Industries, Ltd. in 2005 in

 3   exchange for 28,867,200 shares of stock, but denies that the investment was "simultaneous" and

 4   denies the remainder of the allegations in that sentence. Thomson SA states that the seventh

 S   sentence is vague and ambiguous with respect to "help," "run the CRT business," and "transition

 6   period," and therefore denies the allegations in that sentence. Thomson SA lacks information or

 7   belief sufficient to form a belief about the truth of the allegations in the eighth sentence, despite

 8   diligent efforts to locate relevant documents, and therefore denies these allegations. Further,

 9   Thomson SA states that the references to "Thomson" in the seventh and eighth sentences of

10   Paragraph 22 are vague and ambiguous, and therefore denies the allegations in those sentences to

11   the extent not expressly admitted herein. With regard to the ninth sentence, Thomson SA admits

12   that Section 3.1 of the Shareholders’ Agreement between Thomson SA and Videocon provided that

13   "One member of the Board of Directors shall be nominated by Thomson," and admits that a

14   Thomson SA employee held a seat on the Videocon Board of Directors until 2009. With regard to

15   the tenth sentence, Thomson SA admits that it was a minority shareholder in Videocon affiliated

16   entities from July 2005 through the end of the Relevant Period, but otherwise denies that Plaintiffs’

’7   allegations completely and accurately describe Thomson SA’s stock ownership in Videocon

18   affiliated entities during that time period. Thomson SA denies that its ownership interest in

19   Videocon at any point during the allegedly Relevant Period is legally significant in relation to the

20   claims alleged in the Complaint. Thomson SA admits that it changed its name to Technicolor SA

21   on or about January 2010. Thomson SA denies the allegations in the twelfth sentence of Paragraph

22   22. Except as specifically admitted herein, Thomson SA denies the remaining allegations of

23   Paragraph 22 in their entirety.

24           11.     With regard to the first four sentences of Paragraph 23, Thomson SA admits that

25   Thomson Consumer Electronics, Inc., is now known as Technicolor USA, Inc., and that it is a

26   Delaware corporation with its principal place of business located at 1033 N. Meridian Street,

27   Indianapolis, Indiana 47290-1024. Thomson SA admits that Thomson Consumer is wholly owned

28   by Thomson SA, admits that Thomson Consumer had manufacturing plants in Scranton,
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     Pennsylvania and Marion, Indiana during portions of the Relevant Period, but denies that Thomson

 2   Consumer directly owned CRT manufacturing plants in Mexicali, Mexico. Thomson SA admits

 3   that Thomson Consumer sold CPTs for use in CRT televisions to television manufacturers in North

 4   America during the portions of the Relevant Period, but denies the remaining allegations in the first

 5   through fourth sentences. To the extent that the allegations in sentences five through ten purport to

 6   characterize a written document, Thomson SA denies that Plaintiffs accurately or completely

 7   interpreted, characterized, or stated the substance or context of the written document, and therefore

 8   denies those allegations except as expressly admitted herein. With regard to the fifth sentence,

 9   Thomson SA admits that Thomson Consumer’s CRT business was sold to Videocon Industries, Ltd.

10   in 2005. With regard to the allegation in the sixth through tenth sentences, Thomson SA

11   incorporates by reference its responses to the identical allegations in Paragraph 22. Thomson SA

12   states that the eleventh sentence is vague in regards to timeframe and denies the allegations in that

13   sentence, except that it admits that Thomson Displays America LLC was wholly owned by

14   Thomson Consumer before it was transferred to Videocon in July 2005. With regard to the twelfth

15   sentence, Thomson SA admits that Thomson Consumer changed its name to Technicolor USA, Inc.

16   in or about June 2010. With regard to the thirteenth sentence, Thomson SA admits that prior to the

17   sale of its CRT business in 2005, Thomson Consumer manufactured, marketed, sold, or distributed

18   CPT Products in the United States, but otherwise denies the allegations in that sentence. Thomson

19   SA denies the remaining allegations of Paragraph 23 in their entirety.

20           12.    With regard to the allegations in Paragraph 24, to the extent these allegations state

21   legal contentions, no response is required. With regard to the allegations in sentence one, Thomson

22   SA admits that it had sufficient minimum contacts with the United States during the Relevant

23   Period to be subject to specific personal jurisdiction in the United States with respect to this action

24   only. Thomson SA denies the allegations in sentences two through eight in their entirety. To the

25   extent that the allegations in sentences nine through fourteen purport to characterize written

26   documents, Thomson SA denies that Plaintiffs accurately or completely interpreted, characterized,

27   or stated the substance or context of the written documents and therefore denies those allegations.

28   Thomson Consumer admits that the employees listed in sentences twelve and thirteen worked for
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     Thomson Consumer and/or Thomson Consumer during the Relevant Period, but denies that the

 2   characterizations of employee titles, roles, and employment dates are accurate or complete and

 3   therefore denies these allegations. Thomson SA further denies the allegations contained in sentence

 4   fourteen because the term "stationed" is ambiguous and the allegations are vague as to time.

 5   Thomson Consumer denies any remaining allegations in Paragraph 24.

 6           13.    With regard to the allegations in Paragraph 26 of Plaintiffs FAC, Thomson SA

 7   states that any references to "Thomson" are vague and ambiguous and therefore denies such

 8   allegations to the extent not expressly admitted herein. To the extent that the allegations of

 9   Paragraph 26 purport to characterize a written document, Thomson SA denies that Plaintiff

10   accurately or completely interpreted, characterized, or stated the substance or context of the written

     document, and therefore denies those allegations. Thomson SA lacks knowledge or information

12   sufficient to form a belief as to the truth of the allegations contained in the first sentence and

13   therefore denies them. Thomson SA admits the allegations contained in the second and third

14   sentences of Paragraph 26. With regard to the fourth through eighth sentences, Thomson SA

15   incorporates by reference its responses to the substantially identical allegations in sentences six

16   through ten of Paragraph 22. In response to the ninth sentence, Thomson SA states that pursuant to

17   a September 30, 2005 Addendum to Share Purchase Agreement between Eagle Corporation and

18   Thomson SA, the purchase price paid by Eagle Corporation was allocated in part "for the interest in

19   Thomson Displays Americas LLC" and "for the shares of Mexicana," among other allocations.

20   Thomson SA lacks knowledge or information sufficient to form a belief about the truth of the

21   allegations in sentences ten and eleven, and therefore denies these allegations. Thomson SA denies

22   that any of the allegations in Paragraph 26 concerning Thomson SA’s agreement with and

23   continued interest in Videocon support in any way Plaintiffs allegations that Thomson SA violated

24   any laws. Thomson Consumer denies any remaining allegations in Paragraph 26.

25           14.    With regard to the allegations in Paragraph 27 of Plaintiffs FAC, Thomson SA

26   states that any references to "Thomson" are vague and ambiguous and therefore denies such

27   allegations to the extent not expressly admitted herein. To the extent that the allegations of

28   Paragraph 27 purport to characterize a written document, Thomson SA denies that Plaintiff
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 I   accurately or completely interpreted, characterized, or stated the substance or context of the written

 2   document, and therefore denies those allegations. Thomson SA lacks knowledge or information

 3   sufficient to form a belief about the truth of the allegations in sentences one and two, except that

 4   Thomson SA admits that TDA was formerly known as Thomson Displays Americas LLC. With

 5   regard to the third through sixth sentences, Thomson SA admits that Thomson Consumer

 6   transferred certain assets to TDA in 2005 as a capital contribution in connection with the sale of its

 7   CRT business to Videocon; despite diligent and ongoing searches for relevant records, however,

 8   Thomson SA lacks knowledge or information sufficient to form a belief about the truth of the

 9   remaining allegations regarding the details of the transfer of assets and rights, and therefore denies

10   the remaining allegations in those sentences. Thomson SA lacks knowledge or information

11   sufficient to form a belief about the truth of the allegations in sentences seven and eight, and

12   therefore denies them. Thomson SA denies the allegations in sentence nine. With regard to the

13   allegations in the tenth sentence, Thomson SA admits that Brunk’s employment with Thomson

14   Consumer ended in July 2006, but lacks information sufficient to form a belief regarding with

15   whom Brunk was employed after leaving Thomson Consumer and therefore denies that he

16   transitioned to work for IDA. Thomson SA further admits that Hanrahan’s employment with

17   Thomson Consumer ended in February 2012, but lacks information sufficient to form a belief

18   regarding with whom Hanrahan was employed after leaving Thomson Consumer and therefore

19   denies that he transitioned to work for IDA. Thomson SA lacks knowledge or information

20   sufficient to form a belief about the truth of the allegations in sentence eleven. Sentence twelve

21   contains only a definitional allegation, to which no response is required and which Thomson SA

22   therefore denies. Thomson SA denies that any of the allegations in Paragraph 27 concerning

23   Thomson Consumer’s agreement with TDA support in any way Plaintiffs allegations that Thomson

24   SA violated any laws. Thomson Consumer denies any remaining allegations in Paragraph 27.

25           15.    To the extent that the allegations in Paragraph 82 relate to persons or entities other

26   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

27   their truth and therefore denies them. To the extent that the allegations in Paragraph 82 relate to

28   Thomson SA, Thomson SA denies these allegations.
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 1           16.      To the extent that the allegations in Paragraph 83 relate to persons or entities other

 2   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

 3   their truth and therefore denies them, except that it admits that TCL Thomson was a joint venture

 4   formed between Thomson SA and TCL International Holdings Ltd. Thomson SA ceased any

 5   ownership or interest in TCL Thomson in 2010. Thomson Consumer denies any remaining

 6   allegations in Paragraph 83.

 7           17.      With regard to the allegations in Paragraphs 134 and 136 of Plaintiffs FAC,

 8   Thomson SA admits that the allegations quote parts of its Annual Reports, but denies any emphasis

 9   or alterations in the quoted text, denies that it admitted to any wrongdoing in its Annual Reports,

10   and denies that Plaintiff has accurately or completely interpreted, characterized, or stated the

11   substance or context of the quoted statements. Thomson Consumer denies any remaining

12   allegations in Paragraphs 134 and 136.

13           18.      With regard to the allegations in Paragraph 135 of Plaintiffs FAC, Thomson SA

14   states that the use of the term "Thomson" renders these paragraphs vague and uncertain as to

15   Thomson SA. To the extent that the allegations purport to characterize written documents,

16   Thomson SA denies that Plaintiff has accurately or completely interpreted, characterized, or stated

17   the substance or context of the written documents and therefore denies those allegations. Thomson

18   SA admits that the European Commission investigated CRT price-fixing and levied fines against

19   various companies, including a fine of 38,631,000 million against Thomson SA in 2012 and that

20   its fine was reduced due to Thomson SA’s cooperation and inability to pay, but denies that any

21   allegations, conduct, or cooperation in Europe support in any way Plaintiffs allegations that

22   Thomson SA violated United States antitrust laws or that alleged conduct in Europe had any

23   relation to the United States CRT market. Thomson SA denies any and all remaining allegations in

24   Paragraph 135.

25           19.      With regard to the allegations in Paragraph 137 of Plaintiffs FAC, Thomson SA

26   states that any references to "Thomson" are vague and ambiguous and admits solely that it retained

27   at least a de minimis ownership interest in Videocon between 2005 and the end of the allegedly

28   Relevant Period and with regard to which Thomson SA incorporates by reference its responses to
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 1   sentences six and ten of Paragraph 21. To the extent that the remaining allegations relate to persons

 2   or entities other than Thomson SA, Thomson SA lacks knowledge or information sufficient to form

 3   a belief as to their truth and therefore denies them. To the extent that the remaining allegations

 4   relate to Thomson SA, Thomson SA denies these allegations. To the extent that the allegations

 5   purport to characterize written documents and deposition testimony, Thomson SA denies that

 6   Plaintiff has accurately or completely interpreted, characterized, or stated the substance or context

 7   of the written documents and therefore denies those allegations. Thomson SA denies that it

 8   engaged in, or conspired with others to engage in, any violations of United States antitrust laws.

 9   Thomson SA further denies that the alleged actions of individuals in Paragraph 137 would, if

10   proven, be imputable to Thomson SA and that they relate to the sale of CRTs in the United States.

             20.     To the extent that the allegations in Paragraph 138 relate to persons or entities other

12   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

13   their truth and therefore denies them. To the extent that the allegations in Paragraph 138 purport to

14   characterize written documents and deposition testimony, Thomson SA denies that Plaintiff has

15   accurately or completely interpreted, characterized, or stated the substance or context of the written

16   documents and deposition testimony and therefore denies those allegations. To the extent that the

17   remaining allegations in Paragraph 138 relate to Thomson SA, Thomson SA denies these

18   allegations.

19           21.     With regard to the allegations in Paragraph 139, Thomson SA states that the use of

20   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. To the extent

21   that the allegations relate to persons or entities other than Thomson SA, Thomson SA lacks

22   knowledge or information sufficient to form a belief as to their truth and therefore denies them. To

23   the extent that the allegations purport to characterize written documents and deposition testimony,

24   Thomson SA denies that Plaintiff has accurately or completely interpreted, characterized, or stated

25   the substance or context of the written documents and deposition testimony and therefore denies

26   those allegations. To the extent that the allegations relate to Thomson SA, Thomson SA denies

27   these allegations.

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 I          22.     With regard to the allegations in Paragraph 141, Thomson SA states that the use of

 2   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. To the extent

 3   that the allegations in Paragraph 141 relate to persons or entities other than Thomson SA, Thomson

 4   SA lacks knowledge or information sufficient to form a belief as to their truth and therefore denies

 5   them. With respect to the allegations contained in the sixth sentence, Thomson SA admits that

 6   Didier Trutt received and occupied a seat on Videocon’s board until 2009, but denies the remaining

 7   allegations in the sixth sentence. To the extent that the allegations in Paragraph 141 relate to

 8   Thomson SA, Thomson SA denies these allegations. Thomson SA denies that any of the

 9   allegations in Paragraph 141 concerning Thomson SA’ s agreement with and continued interest in

10   Videocon support in any way Plaintiffs allegations that Thomson SA violated any laws.

            23.     With regard to the allegations in Paragraph 142, Thomson SA states that the use of

12   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. Thomson SA

13   admits that Brunk’s employment with Thomson Consumer ended in July 2006, but lacks

14   information sufficient to form a belief regarding with whom Brunk was employed after leaving

15   Thomson Consumer and therefore denies that he transitioned to work for TDA. Thomson SA

16   further admits that Hanrahan’s employment with Thomson Consumer ended in February 2012, but

17   lacks information sufficient to form a belief regarding with whom Hanrahan was employed after

18   leaving Thomson Consumer and therefore denies that he transitioned to work for TDA. Thomson

19   SA denies that Brunk and Hanrahan attended conspiracy meetings on behalf of Thomson Consumer

20   or Thomson SA. To the extent that the remaining allegations relate to persons or entities other than

21   Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to their

22   truth and therefore denies them. To the extent that the remaining allegations relate to Thomson SA,

23   Thomson SA denies these allegations. Thomson SA denies that any of the allegations in Paragraph

24   142 concerning Thomson Consumer’s agreement with TDA support in any way Plaintiffs

25   allegations that Thomson SA violated any laws.

26          24.     With regard to the allegations in Paragraphs 182 and 192 of Plaintiffs FAC,

27   Thomson SA states that the use of the term "Thomson" renders these paragraphs vague and

28   uncertain as to Thomson SA and therefore denies such allegations to the extent not expressly
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     admitted herein. Thomson SA admits that the European Commission opened an investigation but

 2   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

 3   allegations regarding the scope or timing of the investigations and therefore denies them. Thomson

 4   SA admits that the European Commission alleged that several companies, including Thomson SA,

 5   engaged in anti-competitive conduct in Europe and levied a fine of 38,631,000 million against

 6   Thomson SA in 2012, but denies that the European Commission’s investigation or allegations in

 7   Europe support in any way Plaintiffs allegations that Thomson SA violated any United States

 8   antitrust laws or that alleged conduct in Europe had any relation to the United States CRT market.

 9   Thomson Consumer denies any remaining allegations in Paragraphs 182 and 192.

10          25.     To the extent Paragraph 223 consists of legal contentions, no response is required.

11   To the extent that Paragraph 223 purports to characterize a written document, Thomson SA denies

12   that Plaintiff has accurately or completely interpreted, characterized, or stated the substance or

13   context of the written document and therefore denies the allegations in Paragraph 223. Thomson

14   SA further states that any references to "Thomson" are vague and ambiguous and therefore denies

15   such allegations to the extent not expressly admitted herein. Thomson SA further denies that it

16   participated in any conspiracy to violate antitrust laws or engaged in any efforts to conceal such a

17   conspiracy. Thomson Consumer denies any remaining allegations in Paragraph 223.

18          26.     With regard to Paragraphs 234 and 241, Thomson SA incorporates by reference all

19   of the above responses and statements.

20          27.     With regard to Paragraphs 242 through 248, Thomson SA states that Plaintiffs’

21   Florida state-law claims have been dismissed and therefore no response is required. To the extent a

22   response is required and the allegations in those paragraphs relate to persons or entities other than

23   Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief about their

24   truth and therefore denies them. To the extent a response is required and the allegations relate to

25   Thomson SA, Thomson SA denies them.

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 2           Without assuming any burden it would not otherwise bear, and reserving its right to amend

 3   its Answer to assert additional defenses as they may become known during discovery, Thomson SA

 4   asserts the following separate, additional and/or affirmative defenses:

 5                                                FIRST DEFENSE

 6                                           (Failure to State a Claim)

 7           The FAC fails to state a claim upon which relief can be granted.

 8                                                SECOND DEFENSE

 9                                            (Statute of Limitations)

10           Plaintiff’s claims should be dismissed to the extent that they are barred, in whole or in part,

11   by the applicable statutes of limitations.

12                                                THIRD DEFENSE

13                                 (Failure to Plead Fraud with Particularity)

14           The statutes of limitations are not tolled because Plaintiff has failed to plead fraudulent

15   concealment with the particularity required by Rule 9(b) of the Federal Rules of Civil Procedure.

16                                                FOURTH DEFENSE

17                              (Failure to Plead Conspiracy with Particularity)

18           Plaintiffs claims are barred in whole or part because the FAC fails to plead conspiracy with

19   particularity required under applicable law.

20                                                FIFTH DEFENSE

21                                                  (Withdrawal)

22           Plaintiff’s claims are barred, in whole or in part, by reason of Thomson SA’s withdrawal

23   from or abandonment of any alleged conspiracy.

24                                                SIXTH DEFENSE

25                                 (Claim Splitting and Election of Remedies)

26           Plaintiffs claims are barred, in whole or in part, by reason of claim splitting and by the

27   doctrine of the election of remedies.

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                                             SEVENTH DEFENSE

 2                                                  (Laches)

 3          Plaintiffs claims are barred, in whole or in part, under the doctrine of laches.

 4                                            EIGHTH DEFENSE

 5                                  (Estoppel, Waiver, or Unclean Hands)

 6          Plaintiff’s claims are barred, in whole or in part, under the doctrines of estoppel, waiver,

 7   and/or unclean hands.

 8                                             NINTH DEFENSE

 9                                         (Reasonable Justification)

10          Plaintiffs claims are barred, in whole or in part, because all of the actions of Thomson SA

11   being challenged by Plaintiff were lawful, justified, procompetitive, constitute bona fide business

12   competition, and were carried out in furtherance of Thomson SA’s legitimate business interests.

13                                            TENTH DEFENSE

14                                               (Acquiescence)

15          Plaintiffs claims are barred, in whole or in part, by reason of Plaintiffs acquiescence to the

16   conduct of Thomson SA.

17                                          ELEVENTH DEFENSE

18                             (Accord and Satisfaction, Release and Settlement)

19          Plaintiffs claims are barred, in whole or in part, by the doctrines of accord and satisfaction,

20   release and settlement.

21                                          TWELFTH DEFENSE

22                                  (Government Privilege/Non-actionable)

23           Plaintiffs claims are barred, in whole or in part, because the conduct of Thomson SA

24   alleged in the FAC was caused by, due to, based upon, or in response to directives, laws,

25   regulations, policies, and/or acts of governments, governmental agencies and entities, and/or

26   regulatory agencies, and as such is non-actionable or privileged.

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 I                                         THIRTEENTH DEFENSE

 2                                              (Lack of Standing)

 3           Plaintiff’s claims are barred, in whole or in part, because Plaintiff lacks standing to bring the

 4   claims asserted in the FAC.

 5                                         FOURTEENTH DEFENSE

 6                                                 (Ultra Vires)

 7           Plaintiff’s claims are barred, in whole or in part, because, to the extent that any employee or

 8   agent of Thomson SA engaged in any unlawful act or omission, any such act or omission would

 9   have been committed by individuals acting ultra vires.

10                                          FIFTEENTH DEFENSE

11                                             (Intervening Causes)

12           Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s alleged injuries, if any,

13   stemmed from intervening or superseding causes.

14                                          SIXTEENTH DEFENSE

15                                          (Lack of Antitrust Injury)

16           Plaintiff’s claims are barred, in whole or in part, because Plaintiff has not suffered an

17   antitrust injury.

18                                        SEVENTEENTH DEFENSE

19                                          (No Act of Thomson SA)

20           Plaintiff’s claims are barred, in whole or in part, because Plaintiff has not been injured in

21   their business or property by reason of any action of Thomson SA.

22                                         EIGHTEENTH DEFENSE

23                                            (Speculative Damages)

24           Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s alleged damages, if any,

25   are speculative and because of the impossibility of the ascertainment and allocation of such alleged

26   damages.

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 1                                          NINETEENTH DEFENSE

 2                                       (Failure to Mitigate Damages)

 3           Plaintiff’s claims are barred from recovery of damages, in whole or in part, because of and

 4   to the extent of Plaintiff’s failure to mitigate damages.

 5                                          TWENTIETH DEFENSE

 6                                                (Pass Through)

 7           Plaintiff’s claims for an illegal overcharge are barred, in whole or in part, to the extent that

 8   such overcharge was absorbed, in whole or in part, by others, and was not passed through to

 9   Plaintiff.

10                                        TWENTY-FIRST DEFENSE

11                                          (Available Remedy at Law)

12           Plaintiff’s claims or causes of action for injunction or other equitable relief are barred, in

13   whole or in part, because Plaintiff has available an adequate remedy at law.

14                                      TWENTY-SECOND DEFENSE

15                                 (Lack of Standing for Prospective Relief)

16           Plaintiffs claims or causes of action are barred, in whole or in part, because Plaintiff seeks

17   to enjoin alleged events that have already transpired and without the requisite showing of threatened

18   future harm or continuing violation.

19                                       TWENTY-THIRD DEFENSE

20                                                  (Vagueness)

21           Plaintiff’s claims should be dismissed for uncertainty and vagueness and because its claims

22   are ambiguous or unintelligible. Plaintiff does not describe the events or legal theories with

23   sufficient particularity to permit Thomson SA to ascertain what other defenses may exist.

24                                      TWENTY-FOURTH DEFENSE

25                                             (Unjust Enrichment)

26           Plaintiff’s claims are barred, in whole or in part, because Plaintiff would be unjustly

27   enriched if they were allowed to recover any part of the damages alleged in the FAC.

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 1                                       TWENTY-FIFTH DEFENSE

 2                                                 (Restitution)

 3           Plaintiffs claims are barred from recovery of damages, in whole or in part, to the extent that

 4   any restitution or award of damages to Plaintiff would be excessive and punitive, and

 5   disproportionate to any alleged injury suffered by Plaintiff.

 6                                       TWENTY-SIXTH DEFENSE

 7                                             (Comparative Fault)

 8           Plaintiffs claims are barred, in whole or in part, to the extent the injuries alleged in the FAC

 9   were directly and proximately caused by or contributed to by the statements, acts, or omissions of

10   Plaintiff or third persons or entities unaffiliated with Thomson SA.

                                       TWENTY-SEVENTH DEFENSE

12                                   (Res Judicata or Collateral Estoppel)

13           Plaintiffs claims are barred, in whole or in part, by the doctrines of res judicata or collateral

14   estoppel.

15                                      TWENTY-EIGHTH DEFENSE

16                               (Foreign Trade Antitrust Improvements Act)

17           Plaintiffs claims are barred, in whole or in part, because Plaintiff has failed to allege facts

18   sufficient to support a claim under the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a.

19                                       TWENTY-NINTH DEFENSE

20                                                (Foreign Sales)

21           Plaintiffs claims are barred, in whole or in part, to the extent Plaintiff seeks to recover

22   damages, if any, based on sales outside of the United States.

23                                          THIRTIETH DEFENSE

24                                             (Improper Joinder)

25           Plaintiffs claims are barred, in whole or in part, because Plaintiffs claims are improperly

26   joined within the meaning of Rule 20 of the Federal Rules of Civil Procedure because they did not

27   arise out of the same transaction, occurrence or series of transactions or occurrences and do not

28   involve questions of law or fact common to all defendants.
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 1                                         THIRTY-FIRST DEFENSE

 2                                        (Failure to Exhaust Remedies)

 3            Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to exhaust all

 4    remedies against the parties with whom Plaintiff is in privity.

 5                                       THIRTY-SECOND DEFENSE

 6                                           (No Multiple Recoveries)

 7            Plaintiff’s claims are barred, in whole or in part, to the extent it would result in Thomson SA

 8    paying damages to more than one claimant for the same alleged overcharge, because such multiple

 9    recoveries would violate rights guaranteed to the Thomson SA by applicable states’ laws and the

10    United States Constitution, including, without limitation, rights guaranteed under the Due Process

11 I Clause of the Fourteenth Amendment.

12                                        THIRTY-THIRD DEFENSE

13                                        (Voluntary Payment Doctrine)

14            Plaintiffs claims are barred, in whole or in part, by the voluntary payment doctrine, under

15    which Plaintiff is not entitled to recover payments made with full knowledge of the facts.

16                                       THIRTY-FOURTH DEFENSE

17                                                  (Set Oft)
              Without admitting that Plaintiff is entitled to recover damages from Thomson SA in this
18

19    matter, Thomson SA is entitled to set off from any recovery Plaintiff obtains against Thomson SA

20    any amount paid to under settlements with other defendants in this or related matters.

21
                                           THIRTY-FIFTH DEFENSE
22
                                                     (Privilege)
23
              Plaintiffs claims should be dismissed to the extent that they are barred, in whole or in part,
24
      because any action taken by or on behalf of Thomson SA was justified, constituted bona fide
25
      business competition, and was taken in pursuit of its own legitimate business and economic interests
26
      and is therefore privileged.
27

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 I                                          THIRTY-SIXTH DEFENSE

 2                                          (Noerr-Pennington Doctrine)

 3             Plaintiff’s claims should be dismissed to the extent that they are barred, in whole or in part,

 4   by the doctrine of Noerr-Pennington.

 5                                        THIRTY-SEVENTH DEFENSE

 6                                            (Forum Non Conveniens)

 7             The FAC should be dismissed on the grounds of forum non conveniens to the extent the

 8   claims are governed by the laws of foreign states.

 9                                         THIRTY-EIGHTH DEFENSE

10                                                (Improper Venue)

11             Plaintiff’s claims are barred, in whole or in part, because venue does not lie in this Court.

12                                          THIRTY-NINTH DEFENSE

13                                        (Improper Forum/Arbitration)

14             Plaintiff’s claims should be dismissed to the extent that they are barred, in whole or in part,

15   because Plaintiff has agreed to arbitration or chose a different forum for the resolution of their

16   claims.

17                                             FORTIETH DEFENSE

18                                             (Intervening Conduct)

19             Plaintiff’s claims should be dismissed to the extent that they are barred, in whole or in part,

20   because any alleged injuries and damages were not legally or proximately caused by any acts or

21   omissions of the Thomson SA or were caused, if at all, solely and proximately by the conduct of

22   third parties, including, without limitations, the prior, intervening or superseding conduct of such

23   third parties.

24                                          FORTY-FIRST DEFENSE

25                                     (Lack of Subject Matter Jurisdiction)

26             This Court lacks subject-matter jurisdiction over Plaintiff’s claims pursuant to, but not

27   limited to, the Foreign Trade Antitrust Improvements Act, and because the conduct alleged to
28
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 1   provide a basis for Plaintiff’s claims did not have a direct, substantial, and reasonably foreseeable

 2   effect on trade or commerce within the United States.

 3                                        FORTY-SECOND DEFENSE

 4                                                (Indispensable Parties)

 5           Plaintiff’s claims should be dismissed to the extent that they are barred, in whole or in part,

 6   for failure to join indispensable parties.

 7                                           FORTY-THIRD DEFENSE

 8                                    (Incorporation of Defenses of Others)

 9           Thomson SA adopts by reference any applicable defense pleaded by any other defendant not

10   otherwise expressly set forth herein.

ii                                        FORTY-FOURTH DEFENSE

12                                       (Reservation of Other Defenses)

13           Thomson SA reserves the right to assert other defenses as this action proceeds up to and

14   including the time of trial.

15

16                                  THOMSON SA’S PRAYER FOR RELIEF

17           WHEREFORE, Thomson SA prays for judgment as follows:

18           1.         That Plaintiff take nothing by reason of the FAC, and that the action be dismissed

19   with prejudice,

20           2.         That the Court enter judgment in favor of Thomson SA and against Plaintiff with

21   respect to all causes of action in the FAC,

22           3.         That the Court award Thomson SA its attorneys’ fees and other costs reasonably

23   incurred in the defense of this action, and

24           4.         That the Court award Thomson SA such other further relief as the Court may deem

25   just and proper.

26

27

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 1   Dated: January_, 2015                     Respectfully submitted,
 2

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